AO 245B (Rev. 09/17)   Judgment in a Criminal Case
                        Sheet l



                                           UNITED STATES DISTRICT COURT
                                        Eastern District of North Carolina
                                                          )
               UNITED ST ATES OF AMERICA                  )    JUDGMENT IN A CRIMINAL CASE
                           v.                             )
                                                                            )
                          David E. Piver                                            Case Number: 5:19-CR-00230-1BO
                                                                            )
                                                                            )       USM Number:
                                                                            )
                                                                            )        Susan C. Rodriguez and Lawrence J. Camenm
                                                                            )       Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)          Is
                                    -------------------------------------+----
D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                            Offense Ended

 8 USC§ 306(c), 18 USC§ 2           Aiding and Abetting Fraudulent Statements.                                  April 13, 2018               Is




       The defendant is sentenced as provided in pages 2 through           _ _3_ _~ of this judgment. The sentence is imposed purs1 ant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

Ill Count(s)    Original Indictment                       ~ is      Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, esidence,
or mailing address until_ all fines, restitution,. costs, and special assessme~ts imposed ~y this judgme!1t a_re fully paid. If ordered to pay n~stitution,
the defenc!ant must notify the court and Umted States attorney ofmatenal clianges m econonuc circumstances. ·

                                                                            12/12/2019
                                                                           Date of Imposition of Judgment




                                                                            Terrence W. Boyle, Chief US District Judge
                                                                           Name and Title ofJudge


                                                                            12/12/2019
                                                                           Date




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AO 245B (Rev. 09/17)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                           Judgment -   Page     , 2      of       3
 DEFENDANT: David E. Piver
 CASE NUMBER: 5:19-CR-00230-lBO
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                   JVT A Assessment*                Fine                         Restitution
 TOTALS            $ 10.00                       $                                 $ 1,000.00                  $



 D The determination of restitution is deferred until _ _ _ _ . An Amended Judgment in a Criminal Case (AO 245C)-will e entered
      after such detennination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
                                                                                                                                                 j
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified o erwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.                                                                      ,                    I



 Name of Payee                                                        Total Loss**              Restitution Ordered              Priori    or Percenta e




 TOTALS                               $                           0.00           $ - - - - - - - - -0.00
                                                                                                     --



 D     Restitution amount ordered pursuant to plea agreement $

 D     J'he defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full befo e the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may bes bject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ~     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       ~ the interest requirement is waived for the              ~ fine      D restitution.
      · D the interest requirement for the           D    fine    D      restitution is modified as follows:

 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 11 0A, and 113A of Title 18 for offenses.committed on or
 after September 13, 1994, but before April 23, 1996.


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 AO 245B (Rev. 09/17) Judgment in a Criminal Case
                      Sheet 6 - Schedule of Payments

                                                                                                          Judgment -   Page        3      of       3
                                                                                                                              --- - -   - -   --
-DEFENDA.NT:·-navid B. Piver
 CASE NUMBER: 5:19-CR-00230-lBO


                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     D    Lump sum payment of$                              due immediately, balance due

            D     not later than                                  , or
            D     in accordance with D C,          D D,      D     E, or     D F below; or
 B     D    Payment to begin immediately (may be combined with             DC,        OD,or        D F below); or

 C     D    Payment in equal      _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ _ _ _ over a period of
                           (e.g., months or years), to commence_____ (e.g., 30 or 60 days) after the date of this judgment; or

 D     D    Parment in equal     _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ _ _ _ over a period of
                           (e.g., months or years), to commence
                                                              _____ (e.g., 30 or 60 days) after release from imprisonment to
            term of supervision; or                                                                                          I

 E     D    Payment during the term of supervised release will commence within _ _ _ _ _ (e.g., 30 or 60 days) after release fr m
            imprisomnent. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    Ill   Special instructions regarding the payment of criminal monetary penalties:

             Payment of the fine and special assessment shall be due immediately.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisomnent, payment of criminal monetary penalties is d1,1e during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.                                                                    -

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amou t,
      anµ corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:



 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.



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